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December 30, 2022                                                            CBP-2022-003180


Natalie Christmas
Florida Attorney General’s Office
PL01 The Capitol
Tallahassee, FL 32399


Dear Ms. Christmas:


In response to State of Florida v. DHS et al, Case No. 21-14462-Civ. This is the seventh interim
release to your Freedom of Information Act (FOIA) request to U.S. Customs and Border
Protection (CBP), submitted and received in our office on October 11, 2021. In summary, you
are seeking records pertaining to immigration enforcement, among other guidance.

A search of CBP databases produced records responsive to your request. CBP has considered the
foreseeable harm standard when reviewing the record set and has applied the FOIA exemptions
as required by the statute and the Attorney General’s guidance1. CBP has reviewed 300 pages
of records and determined that 209 pages of the records are partially releasable pursuant to Title
5 U.S.C. § 552 (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E).

FOIA Exemption (b)(5) exempts from disclosure information considered to be predecisional
and deliberative, and inter-agency or intra-agency memoranda or letters which would not be
available by law to a party other than an agency in litigation with the agency.

FOIA Exemption (b)(6) exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right privacy. The types of
documents and/or information that we have withheld may consist of email addresses, phone
numbers, home addresses, dates of birth, or various other documents and/or information
belonging to a third party that are considered personal. The privacy interests of the individuals
in the records you have requested outweigh any minimal public interest in disclosure of the
information. Any private interest you may have in that information does not factor into the
aforementioned balancing test.

FOIA Exemption (b)(7)(C) protects records or information compiled for law enforcement
purposes that could reasonably be expected to constitute an unwarranted invasion of personal
privacy. This exemption takes particular note of the strong interests of individuals, whether they
are suspects, witnesses, or investigators, in not being unwarrantably associated with alleged

1
 Department of Justice (DOJ), "Freedom of Information Act Guidelines," March 15, 2022, available at
https://www.justice.gov/ag/page/file/1483516/download
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criminal activity. That interest extends to persons who are not only the subjects of the
investigation, but those who may have their privacy invaded by having their identities and
information about them revealed in connection with an investigation. Based upon the traditional
recognition of strong privacy interest in law enforcement records, categorical withholding of
information that identifies third parties in law enforcement records is ordinarily appropriate.

FOIA Exemption (b)(7)(E) protects records compiled for law enforcement purposes, the release
of which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law. CBP has
determined that disclosure could reasonably be expected to risk circumvention of the law.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. 552(c). This response
is limited to those records that are subject to the requirements of the FOIA. This is a standard
notification that is given to all our requesters and should not be taken as an indication that
excluded records do, or do not, exist.

If you have questions or concerns regarding this response, you may contact Assistant United
States Attorney, Kuntal Cholera, at Kuntal.cholera@usdoj.gov.

Please notate file number CBP-2022-003180 on any future correspondence to CBP related to this
request


Sincerely,

FOIA Division
U.S. Customs and Border Protection
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